              Case 1:16-cv-00333-APM Document 12 Filed 05/18/16 Page 1 of 1




    IN THE UNITED STATES DISTRICT
    FOR THE DISTRICT OF COLUMBIA


    EIG ENERGY FUND XIV, L.P.
    EIG ENERGY FUND XIV-A, L.P.                                       : Case No.1:16-cv-00333
    EIG ENERGY FUND XIV-B, L.P.
    EIG ENERGY FUND XIV (CAYMAN), L.P.
    EIG ENERGY FUND XV, L.P.
    EIG ENERGY FUND XV-A, L.P.                                        :   AFFIDAVIT OF SERVICE
    EIG ENERGY FUND XV-B, L.P.
    EIG Management Company, LLC

                                       Plaintiffs,

                              -against-

    PETROLOLEO BRASILEIRO S.A.

                                       Defendant.

    STATE OF NEW YORK
                                       ) ss.:
    COUNTY OF NEW YORK )
                              Miyoshie Lamothe-Aime, being duly sworn, say:
                              1. I am not a party to this action, am over 18 years of age, and am employed by
    Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York 10036.
                              2. On May 18th, 2016 I served a true copy of a FIRST AMENDED
    COMPLAINT with exhibits dated May 18 th, 2016, in the above-captioned matter by delivering the true
    copy thereof enclosed in an envelope, to FedEx, prior to the latest time designated by that service for
    priority overnight delivery, upon:

                                                 Petroleo Braseileiro S.A.
                                                 Attn: Theodore M. Helms
                                                  570 Lexington Avenue
                                                New York, New York 10022



                                                                      Miyoshie Lamothe-Aime
    Sworn to before me this
    18t1 day of May 2016


    1f1c‘
    Notary Public

      MEGAN ROSE DRAN
  Notary Public, State of New York
         NO. 011)116250045
   Qualified in New York County
ComndsbionExpires October 17, 20..L1
